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 Counsel for the Chapter 11 Trustee

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


     In re:                                                   Chapter 11

     FIRESTAR DIAMOND, INC., et al.                           No. 18-10509 (SHL)

                           Debtors.1                          (Jointly Administered)


               NOTICE OF FIFTH HEARING TO CONSIDER APPLICATIONS FOR
              INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES

          Under Paragraph L of the Order Pursuant to Sections 105(A) and 331 of the Bankruptcy Code,

 Bankruptcy Rule 2016 and Local Rule 2016-1 Establishing Procedures for Monthly Compensation and

 Reimbursement of Expenses of Professionals [Dkt. 82] (the “Compensation Procedures Order”),

 Richard Levin, as chapter 11 trustee for the above-captioned debtors, has scheduled the fifth

 hearing to consider applications for interim compensation and reimbursement of expenses (the

 “Fee Applications”) of professional retained in these chapter 11 cases (the “Fifth Interim Fee

 Hearing”).




 1The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
 Firestar Diamond, Inc. (2729), Fantasy, Inc. (1673), and Old AJ, Inc. f/k/a A. Jaffe, Inc. (4756).

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        The Fifth Interim Fee Hearing will be held before the Honorable Sean H. Lane of the

 United States Bankruptcy Court for the Southern District of New York on March 19, 2020 at 11:00

 a.m. (Eastern Time), or as soon thereafter as counsel may be heard, in Courtroom 701 of the

 United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”),

 One Bowling Green, New York, New York 10004.

        Under Federal Rule of Bankruptcy Procedure 2002(a)(6), the deadline for retained

 professionals to file and serve their Fee Applications for presentment at the Fifth Interim Fee

 Hearing is February 27, 2020.

        Objections, if any, to approval of the Fee Applications must: (i) be made in writing; (ii)

 state with particularity the grounds therefor; (iii) be filed with the Bankruptcy Court (with a copy

 to the Judge’s chambers); and (iv) be served upon (a) the affected retained professional; (b)

 counsel to the United States Trustee for Region 2, 201 Varick Street, Suite 1006, New York, NY

 10014 (Attn: Richard Morrissey, Esq.); (c) counsel to the Trustee, Jenner & Block LLP, 919 Third

 Avenue, New York, New York 10022 (Attn: Mark Hankin, Esq.); (d) counsel to the Debtors,

 Klestadt Winters Jureller Southard & Stevens, LLP, 200 West 41st St., 17th Floor, New York, NY

 10036 (Attn: Ian Winters, Esq.); and (e) counsel to Punjab National Bank, Cleary, Gottlieb, Steen

 & Hamilton LLP, One Liberty Plaza, New York, NY 10006 (Attn: Sean O’Neal) so as to be received

 by each of them no later than 5:00 p.m. (Eastern Daylight Time) on March 12, 2020 at 5:00

 p.m. (Eastern Time) (the “Objection Deadline”).

        You need not appear at the Fifth Interim Fee Hearing if you do not object to the relief

 requested in the Fee Applications. The Fifth Interim Fee Hearing may be continued or adjourned

 from time to time without further notice other than an announcement of the adjourned date or

 dates at the Fifth Interim Fee Hearing or at a later hearing.




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 Dated: January 23, 2020                  Respectfully submitted,
        New York, New York
                                          JENNER & BLOCK LLP

                                          By: /s/ Marc Hankin
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